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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

CHICAGO JOE’S TEA ROOM, LLC                  )
an Illinois Limited Liability Company        )
and PERVIS CONWAY                            )
                                             )     Case No. 07 CV 2680
                   Plaintiffs,               )
                                             )     Honorable Judge John Z. Lee
      vs.                                    )
                                             )
THE VILLAGE OF BROADVIEW, et al.             )
                                             )
                   Defendants.               )


   PLAINTIFFS’ MOTION TO STAY HENRY VICENIK’S MOTION TO STAY
       BRIEFING ON DEFENDANT VICENIK’S PETITION FOR FEES

      Plaintiffs Chicago Joe’s Tea Room, LLC (“Chicago Joe’s”) and Pervis

Conway (“Conway”) (collectively “Plaintiffs”) hereby move this Honorable Court

for leave to stay briefing on Defendant Vicenik’s petition for fees for a reasonable

time to allow Chicago Joe’s Tea Room, LLC and Pervis Conway to retain counsel

to replace Nixon Peabody, Dean J. Polales and Timothy J. Horton, and in support

thereof states as follows:


      Defendant Vicenik has filed a Motion seeking fees. Plaintiffs’ response to

said motion was due June 11, 2019.


      1. There will be no prejudice from granting such a motion since the next

status will not occur until August 18, 2019, and the Court has the pending

Village of Broadview’s Motion to Dismiss under advisement.
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      2. Mr. Horton has left the firm of Nixon Peabody and Mr. Polales’ last day

at Nixon Peabody will be June 30, 2019. In light of Mr. Polales’ motion to

withdraw and departure from Nixon Peabody, the undersigned believes that new

counsel should handle this matter.


      3. Plaintiffs have interviewed potential new counsel but need additional

time to finalize and engagement of same.


      WHEREFORE, Plaintiffs respectfully requests that this Court grant

Plaintiffs motion.


Dated: June 25, 2019.                       Respectfully submitted,

                                            CHICAGO JOE’S TEA ROOM LLC
                                            and PERVIS CONWAY

                                         By:      /s/ Dean J. Polales

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                            CERTIFICATE OF SERVICE



       The undersigned certifies that a copy of the foregoing was served on all counsel of
record via electronic case filing procedures on June 25, 2019.



                                         /s/Dean J. Polales




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